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Prob12B
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                                United States District Court
                                            for
                                  the District of Nevada

                         REQUEST FOR MODIFICATION
         TO CONDITIONS OF SUPERVISION WITH CONSENT OF OFFENDER
                  Probation Form 49 (Waiver of Hearing) is Attached
                                 November 5, 2021

Name of Offender: Chad Costanza

Case Number: 2:11CR00157

Name of Sentencing Judicial Officer: Honorable James C. Mahan

Date of Original Sentence: October 11, 2012

Original Offense: Receipt of Child Pornography

Original Sentence: 60 Months prison followed by Lifetime supervised release

Date Supervision Commenced: September 23, 2016

Name of Assigned Judicial Officer: Honorable James C. Mahan

                               PETITIONING THE COURT

‫ ܈‬To modify the conditions of supervision as follows:

    1. Substance Abuse Treatment – You must participate in an outpatient substance
       abuse treatment program and follow the rules and regulations of that program. The
       probation officer will supervise your participation in the program (provider,
       location, modality, duration, intensity, etc.).

    2. Work Full Time - You must work full time (at least 30 hours per week) at a lawful
       type of employment, unless the probation officer excuses you from doing so. If you
       do not have full-time employment you must try to find full-time employment, unless
       the probation officer excuses you from doing so. If you plan to change where you
       work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the
       change. If notifying the probation officer at least 10 days in advance is not possible
       due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
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                                   RE: Chad Costanza
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                                             CAUSE

Costanza began his term of supervised release in the District of Nevada on September 23, 2016.
He has failed to maintain any semblance of steady employment and indicates he obtains any
earnings from gambling at various casinos in Las Vegas, Nevada. He has not been gainfully
employed since February 2019, having sporadic employment prior to that, and expressed his
desire to not obtain employment, but rather to gamble at casinos. To address this issue, the
undersigned officer instructed him to obtain employment as required by the conditions of this
Court within 30 days in September 2021 or accept employment that was known to hire convicted
felons at a temporary employment agency, which commonly turns into full-time employment
with the company assigned to after some time. Costanza failed to find employment as required.

Considering Ninth Circuit Court decision, United States v. Anthony Evans (2018), filed February
28, 2018, the United States probation office is compelled to request a modification to the
offender’s employment condition. In summary, this ruling found the standard condition “the
defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons” unconstitutionally vague. Costanza’s Judgment
and Commitment order contains this language.

Prompted by appellate court decisions in other circuits for this issue, in November 2016, new
standard conditions were adopted and are now being utilized. In response, the probation office is
requesting that the court modify Costanza’s standard employment condition to comport with case
law; and the existing employment condition that has been approved and now utilized in our
district.

On November 4, 2021, Costanza reported to the United States Probation Office and was given a
copy of his judgment to review. During the conversation he admitted he has been using
marijuana and would not be able to provide a negative drug test. A urine specimen was collected,
and the results indicated positive for marijuana and oxycodone. Costanza admitted both verbally
and in writing that he last used marijuana approximately three weeks ago and had been using
marijuana daily for approximately the past year and a half. He also admitted both verbally and in
writing that he took what he believed was a Vicodin pill not prescribed to him on November 3,
2021, that he obtained from a person he frequently gambles with at a local casino.

It should also be noted that Costanza previously used marijuana while under his term of
supervised release in October 2018. The Court was notified of the violation conduct and
concurred that no action was to be taken at that time.

Additionally, for the Court’s information, Costanza had contact with law enforcement on July
22, 2021. The contact was regarding Costanza being locked out of his residence where he
continues today to rent a room. While this was ultimately considered a civil matter, Costanza
failed to report the police contact as required until prior to his polygraph on August 25, 2021. No
action is requested by the Court in this matter, as Costanza was verbally admonished by the
probation office and his conditions of supervision were reviewed with him to avoid future
violation conduct.
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To address the issue of illicit substance use, it is recommended that the Court approve the request
for a modification to include outpatient substance abuse counseling. Additionally, as noted, it is
recommended the court modify his standard employment condition to comport with current case
law. Costanza has agreed to this through his signature on the attached PROB49, Waiver of
Hearing to Modify Conditions.

                                                     Respectfully submitted,
                                                                    Digitally signed by Bryce
                                                                    Stark
                                                                    Date: 2021.11.05
                                                     ______________________________
                                                                    13:17:53 -07'00'
                                                     Bryce D. Stark
                                                     Senior United States Probation Officer




Approved:
                     Digitally signed by Todd
                     Fredlund
                     Date: 2021.11.05 10:29:21
                     -07'00'
__________________________________________
Todd J. Fredlund
Supervisory United States Probation Officer
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THE COURT ORDERS


‫܆‬        No Action.

‫܆‬        The extension of supervision as noted above.

X
‫܆‬        The modification of conditions as noted above

‫܆‬        Other (please include Judicial Officer instructions below):

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                                                      _____________________________
                                                      Signature of Judicial Officer
                                                       November 8, 2021
                                                      _____________________________
                                                      Date
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